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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

 

 

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
a
v' Case No, 31 \<@~ c_\/- 353 -D\’X»-¥ S?>

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

Defendants,

 

 

CONSENT ORDER GRANTING PERMANENT INJUNCTION,
FREEZING ASSETS, PROHIBITING DESTRUCTION OF DOCUMENTS
AND EXPEDITING DISCOVERY

The Plaintiff, Securities and Exchange Cormnission (“Comrnission”) having
filed a Complaint and Defendants Arthur Lamar Adams and Madiscn Timber
Properties, LLC (collectively “Defendants”) having entered general appearances;

consented to the Court’s jurisdiction over Defendants and the subject matter of

this action; consented to entry of this Order Granting Perrnanent Injunction,

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Freezing Assets, Prohibiting Destruction of Documents and Expediting Discovery;
waived findings of fact and conclusions of law with respect to this Order; and
waived any right to appeal from this Order:
I.
IT IS HEREBY ORDERED that l)efendants are restrained and permanently
enjoined and restrained from yiolating, directly or indirectly, Section l7(a) of the
Securities Act of 1933 [15 U.S.C. § 77q(a)], by, through the use of any means or

instruments of transportation or communication in interstate commerce or by the use

of the mails:
a. employing any device, scheme or artifice to defraud;
b. obtaining money or property by means of any untrue statement of a

material fact or any omission to state a material fact necessary in order to make
the statements made, in the light of the circumstances under which they were
made, not misleading; or

c. engaging in any transaction, practice, or course of business which
operates or would operate as a fraud or deceit upon the purchaser, in the offer

or sale of any security.

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II.

IT IS FURTHER ORDERED that Defendants are restrained and
permanently enjoined and restrained from violating, directly or indirectly, or
aiding and abetting violations of`, Section 10(b) of the Securities Exchange Act of
1934 [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5], by,
through the use of any means or instrumentality of interstate commerce or of the
mails or of any facility of any national securities exchange:

a. employing any device, scheme or artifice to defraud;

b. making any untrue statement of a material fact or omitting to state a

material fact necessary in order to make the statements made, in light of the

circumstances under Which they Were made, not misleading; or

c. engaging in any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person, in connection with the

purchase or sale of any security.
III.
IT IS FURTHER ORDERED that, pending further order of the Court, all

assets of, or under the control of, Defendants, are frozen. Defendants, their

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officers, agents, servants, employees, attomeys, and all persons in active concert
or participation with them, except any trustee, receiver or special fiscal agent
appointed by this Court, be, and hereby are, restrained from, directly and
indirectly, transferring, setting off, receiving, changing, selling, pledging,
assigning, liquidating or otherwise disposing of or withdrawing any assets and
property owned by, controlled by, or in the possession of said defendant This
Court further enjoins any disbursement by Defendants, their agents,
representatives, employees and officers and all persons acting in concert or
participation with them, whatever business names they may operate under, of any
proceeds derived from the securities offerings alleged in the Commission’s
complaint The freeze shall include but not be limited to those funds located in
any bank accounts, brokerage accounts, or any other accounts or property of
Defendants. Further, any bank, trust company, broker-dealer or other depository
institution holding accounts for or on behalf of the Defendants shall not permit
any single deposit in excess of $5,000 into any account impacted by this freeze

from a single source pending further order of this Court,

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IV.

IT IS FURTHER ORDERED that, to effectuate the provisions of
Paragraph III above, the Comrnission may cause a copy of this Order to be served on
any bank, savings and loan, broker-dealer or other financial or depository institution
either by United States mail, overnight mail or by facsimile as if such service Were
personal service, to restrain and enjoin any such institution from disbursing funds,
directly or indirectly, to or on behalf of the Defendants or Relief Defendants, or any
companies or persons or entities under their control. All financial institutions that
receive a copy of this Order shall keep the existence of this litigation confidential
pending further order of this Court.

V.

IT IS FURTHER ORDERED that Defendants shall immediately repatriate
all funds and assets obtained, directly or indirectly, from the activities described in
the Commission’s Complaint that are now located outside the jurisdiction of this
Court. Such hinds shall be immediately transferred or paid to the Court-
Appointed Receiver or into the Registry of this Court. Furthermore, With respect

to any other asset owned by the Defendants or Relief Defendants that is now

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located outside the jurisdiction of this Court, including, specifically, any monies,
securities, real property, or other assets, the Defendants and Relief Defendants
shall immediately identify to the Court or the Court-Appointed Receiver the
location of such asset, the price paid or consideration given, and the date upon
which it Was purchased Securities, or other personalty that can be readily moved
or transferred, and titled or other documents reflecting ownership as to real
property, shall be delivered to the Court-Appointed Receiver or into to the
Registry of this Court as soon as possible.

VI.

IT IS FURTHER ORDERED that Defendant Adams shall immediately
surrender his passport to the Clerk of this Court and is prohibited from traveling
outside the continental United States Without the prior approval of this Court.

VII.

IT IS FURTHER ORDERED that the Commission may take expedited
discovery as follows:

A. The Commission may take depositions upon oral examination subject

to three days notice prior to expiration of 30 days after service of the Summons and

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Complaint upon defendant, pursuant to Rule 30(a) of the Federal Rules of Civil
Procedure;

B. Pursuant to Rule 33(a) of the Federal Rules of Civil Procedure, the
defendants shall answer all plaintiffs interrogatories Within three days of service of
such interrogatories;

C. Pursuant to Rule 34 of the Federal Rules of Civil Procedure, upon
request of the Commission, the defendants shall produce all documents within three
days of service of such request;

D. Pursuant to Rule 36(a) of the Federal Rules of Civil Procedure, the
defendants shall answer all of plaintiffs requests for admissions Within three days of
service of such request;

E. The Commission may serve third party subpoenas for documents
pursuant to Rule 45 of the F ederal Rules of Civil Procedure upon entry of this
Order.

F. The Commission may serve discovery upon defendant by facsimile,
electronic mail or by any other means provided for Within the Federal Rules of Civil

Procedure;

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G. All written responses to the Commission's requests for discovery under
the Federal Rules of Civil Procedure shall be delivered to the Commission at 3475
Lenox Road N.E., Suite 1000, Atlanta, Georgia 30326-1232, or such other place as
counsel for the Commission may direct, by the most expeditious means available,
including facsimile.

VIII.

IT IS FURTHER ORDERED that each defendant prepare and present to
this Court and to the Commission a sworn accounting of all hinds received by that
defendant pursuant to the scheme described in the Commission's Complaint and of
the disposition and use of said proceeds. This accounting shall include, but not be
limited to, the name and address of each investor (for entities contracting with
investors), the amount invested, the total amount received from investors, the date
each such investment was made and a listing of all expenditures showing the
amount and to whom paid and the date of payment The accountings shall be
submitted to this Court and served upon the Commission within 20 days from the

date of entry of this Order.

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IX.

IT IS FURTHER ORDERED that defendants and their officers, agents,
employees, servants, attorneys, any bank or financial institution holding any assets
of the defendants and all persons in active concert or participation with them, and
each of them, are restrained and enjoined from destroying, transferring or otherwise
rendering illegible all books, records, papers, ledgers, accounts, statements and other
documents employed in any of such defendants' business, which reflect the business
activities of any of the defendants, or which reflect the transactions described in the
Commission's Complaint

X.

IT IS FURTHER ORDERED that this Court shall retain jurisdiction of

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this matter for all purposes

This ZO" day of April, 2018

